JESSIE S. MEACHEM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Meachem v. CommissionerDocket No. 43297.United States Board of Tax Appeals22 B.T.A. 1091; 1931 BTA LEXIS 2018; April 7, 1931, Promulgated *2018 Irving D. Vann, Esq., for the petitioner.  Eugene Harpole, Esq., for the respondent.  GOODRICH *1091  This proceeding involves the determination of the tax liability of petitioner for the year 1926, for which period respondent has asserted a deficiency in income tax in the amount of $17,731.79.  The errors alleged are (1) that respondent failed to allow as a deduction *1092  in the year 1926 a capital loss in the amount of $109,999, resulting from the sale in that year of stock of the Meachem Gear Corporation, which stock had been previously determined to be worthless, and (2) that respondent failed to allow as a deduction in the year 1926 a capital loss in the amount of $34,999 resulting from the aforesaid transaction.  FINDINGS OF FACT.  The facts are stipulated and are as follows: 1.  The Meachem Gear Corporation was organized in February, 1919, with a capital of $300,000.00, consisting of 3,000 shares of the par value of $100.00 each.  In May 1923, the stock of the Meachem Gear Corporation was reclassified into 1,000 shares of preferred stock of the par value of $100.00 each and 200,000 shares of common stock of no par value.  2.  About*2019  February 1919, Jessie S. Meachem purchased 100 shares of common stock of said corporation of the par value of $100.00, for which she paid $10,000.00, which stock she exchanged for common stock of no par value shortly after May 1923.  Between the first day of October 1923, and the first day of January 1924, Jessie S. Meachem purchased from the Meachem Gear Corporation 650 shares of preferred stock for which she paid $65,000.00, and between the first day of January 1924, and the first day of July 1924, purchased 350 shares of preferred stock for which she paid the sum of $35,000.00, and received as a bonus one-fifth of a share of common stock of no par value for each share of preferred stock purchased.  3.  On December 31, 1925, it was known to Jessie S.Meachem that she would never receive anything on said preferred stock or common stock of the Meachem Gear Corporation; that said stock had become worthless during the year 1925, was actually worthless on December 31, 1925, and at all times thereafter.  In December 1926, Jessie S. Meachem sold 1,000 shares of preferred stock and 300 shares of the common stock of the Meachem Gear Corporation to her son, Thomas C. Meachem, for the sum*2020  of $1.00.  4.  Jessie S. Meachem filed an income-tax return for the calendar year 1925 in which she disclosed a tax in the sum of $7,625.60 and a like return for the calendar year 1926 disclosing a tax in the sum of $1,588.03.  Both of said returns were rendered on the cash receipts and disbursements basis.  Upon the audit of the returns the Commissioner of Internal Revenue allowed petitioner a loss of $110,000.00 in the calendar year 1925 by reason of the stock of the Meachem Gear Corporation having in that year become worthless, but refused to allow a loss of $109,999.00 on the sale of this stock of the Meachem Gear Corporation in the calendar year 1926.  OPINION.  GOODRICH: Petitioner advances an ingenious argument, but one in which we find no merit.  We find no support for petitioner's contention in section 208 of the Revenue Acts of 1924 and 1926, relating to capital gains and losses.  On the other hand, section 214 (subdivisions (a) 4, 5, and 6) of the Revenue Acts of 1924 and 1926, relating to deductions from gross income allowable on account of losses, indicates *1093  clearly that such deductions are allowable only in the taxable year in which such losses are sustained; *2021  and we have previously so held.  See ; affd., ; certiorari denied, ; . In view of the clear language of the statute and our prior decisions on this point, it is our opinion that the time as of which deductions for losses may be taken is not affected by taxpayer's accounting method nor her basis of computing income.  Since the stock owned by this petitioner had become worthless during 1925, the prior tax year, the shifting of the loss sustained therefrom into a later period is not warranted by the attempted registration of the loss by a sale after the stock is determined to be without value.  Judgment will be entered for respondent.